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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Derrick A. Revies,                                       Court File No.

                     Plaintiff,
                                                                 COMPLAINT WITH
vs.                                                               JURY DEMAND

City of Minneapolis; and Officer Matthew
Lindquist, Officer K. Moua, and Officer
McDonough, in their individual and official
capacities,

                    Defendants.



                                         INTRODUCTION

1. This is an action for money damages brought pursuant to 42 U.S.C. §§ 1983 and 1988, and

      the First and Fourth Amendments to the United States Constitution, and under the common

      law of the State of Minnesota, against the City of Minneapolis and Officers Lindquist, Moua,

      and McDonough, police officers of the City of Minneapolis, in their individual and official

      capacities.

2. It is alleged that the Defendant Officers retaliated against Plaintiff and made an unreasonable

      seizure of Plaintiff’s person, violating his rights under the First and Fourth Amendments to

      the United States Constitution. It is further alleged that Defendants battered Plaintiff under

      Minnesota state law.



                                          JURISDICTION

3. Jurisdiction is based upon 28 U.S.C. §§ 1331 and 1343, and on the pendent jurisdiction of

      this Court to entertain claims arising under state law pursuant to 28 U.S.C. § 1367.


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                                             VENUE

4. This Court is the proper venue for this proceeding under 28 U.S.C. § 1391, as the material

   events and occurrences giving rise to Plaintiff’s cause of action occurred within the State of

   Minnesota.



                                            PARTIES

5. Plaintiff Derrick Revies was at all material times a resident of the State of Minnesota, and of

   full age.

6. Defendant Police Officers Lindquist, Moua, and McDonough were at all times relevant to

   this complaint duly appointed and acting officers of the police department of the City of

   Minneapolis, acting under color of law, to wit, under color of the statutes, ordinances,

   regulations, policies, customs and usages of the State of Minnesota and/or the City of

   Minneapolis.

7. The City of Minneapolis, Minnesota, is a municipal corporation and the public employer of

   the Defendant Officers. Defendant City of Minneapolis is sued directly and also on the

   theories of respondeat superior or vicarious liability and pursuant to Minn. Stat. § 466.02, for

   the actions of its officers and officials, including the Defendant Officers.



                                             FACTS

8. On August 1, 2014, at approximately 11:30 p.m., Plaintiff Derrick Revies was passing

   through the area near 1010 Currie Ave, Minneapolis, MN 55403. As Mr. Revies was passing

   through, he noticed that a certain area had been taped off by police officers in what appeared

   to be a crime scene. Mr. Revies also noticed police officers, medical personnel, and a



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   possible victim and/or suspect inside the area that was taped off. At this time, Mr. Revies

   decided to video-record the incident as an independent observer.

9. Mr. Revies then turned on his camera and approached the area that was taped off by the

   police using the sidewalk. Mr. Revies then proceeded to record the incident with his camera

   and narrate his observations. Mr. Revies was not committing any crimes, stayed on the

   sidewalk at all times outside the taped area, and did not interfere with the police officers or

   the investigation in any way.

10. Shortly after, while Mr. Revies was lawfully recording the incident from a place where he

   had a legal right to be, Defendant Officer Moua approached Mr. Revies and gave him vague

   and conflicting instructions to move to a different area. Mr. Revies, confused as to where he

   was directed to go, attempted to clarify Officer Moua’s instructions so that he could follow

   them. Mr. Revies never refused to move and never entered the area that was taped off by the

   police and simply asked Officer Moua for clarification as to where he needed to go. Instead

   of clarifying his vague and conflicting directives, Officer Moua confiscated Mr. Revies’

   camera and proceeded to walk Mr. Revies to a different area of the sidewalk where Officer

   Moua wanted Mr. Revies to go. As they walked, Officer Moua told Mr. Revies that he will

   return his camera once they reach an area of the sidewalk where Mr. Revies could remain.

   Mr. Revies willingly followed Officer Moua down the sidewalk and, after reaching a certain

   area of the sidewalk, Officer Moua returned Mr. Revies’ camera and walked away, leaving

   Mr. Revies in a different area of the sidewalk.

11. At this time, Defendant Officer McDonough approached Mr. Revies on a bicycle, blocked

   Mr. Revies’ path, and started to question Mr. Revies about why he was in the area recording

   the police. Mr. Revies attempted to explain that he had a constitutional right to record public



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   activities from a public sidewalk and that he was making sure that peoples’ rights were not

   being violated. Even though Mr. Revies never stated that anyone’s rights had been violated,

   Officer McDonough demanded to know why Mr. Revies felt that someone’s rights were

   being violated as he continued to block Mr. Revies’ path.

12. As Mr. Revies was speaking with Officer McDonough, Officer Moua approached Mr. Revies

   from behind, grabbed Mr. Revies, and once again gave Mr. Revies vague instructions to walk

   to a different area. Mr. Revies followed Officer Moua’s instructions and started to walk down

   the sidewalk. As Mr. Revies was walking, Defendant Officer McDonough continued to

   engage Mr. Revies in conversation. Shortly after, Mr. Revies reached the area where Officer

   Moua directed him to go.

13. Next, while Mr. Revies was in the area to which he was directed by Officer Moua, Officer

   Lindquist approached Mr. Revies, forcefully tackled him to the ground, handcuffed him, and

   arrested him. Upon information and belief, Defendant Officers Moua and McDonough

   assisted Officer Lindquist in forcefully pinning Mr. Revies to the ground, which was

   completely unnecessary and caused Mr. Revies to suffer severe and excruciating pain. At the

   time of the arrest, Mr. Revies was not committing any crimes, was in the area to which he

   was directed by Officer Moua, and was not interfering or obstructing the officers in any way.

   Mr. Revies was then searched and transported and booked into the Hennepin County Jail.

14. As a result of the Defendant Officers’ actions, Mr. Revies endured severe physical pain,

   suffering, and discomfort both during and after the arrest.

15. As a result of the Defendant Officers’ actions, Mr. Revies suffered emotional distress, shame,

   humiliation, and embarrassment.




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16. As a result of the Defendant Officers’ actions, Mr. Revies was falsely imprisoned and

   suffered loss of liberty.




                                      INJURIES SUFFERED

17. As a direct and proximate result of the said acts of the Defendants, Plaintiff suffered the

   following injuries and damages:

       a. Violation of his constitutional rights under the First and Fourth Amendments to the

           United States Constitution to freedom of speech and to be free from unreasonable

           seizures of his person;

       b. Physical pain and suffering;

       c. Emotional trauma and suffering.

18. The actions of the Defendant Officers violated the following clearly established and well

   settled federal constitutional rights of Plaintiff:

       a. Right to freedom of speech and expression;

       b. Freedom from unreasonable seizures of his person;

       c. Freedom from the use of excessive, unreasonable, and unjustified force against his

           person.



                                     CLAIMS FOR RELIEF

  COUNT 1: 42 U.S.C. § 1983 – FIRST AMENDMENT RETALIATION AGAINST ALL INDIVIDUAL
                                      DEFENDANTS

19. Paragraphs 1 through 18 are incorporated herein by reference as though fully set forth.

20. Based on the above factual allegations, the Defendant Officers, through their actions, acting

   under the color of state law, violated Plaintiff’s constitutional right to free speech under the

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   First Amendment to the United States Constitution. Specifically, Plaintiff exercised his right

   to free speech protected by the First Amendment when he used his camera to record police

   activities and when he informed the Defendant Officers that he had a right to record police

   activities. The Defendant Officers took action against Plaintiff that was sufficiently serious to

   chill a person of ordinary firmness from engaging in protected speech/conduct when they

   attacked and arrested Plaintiff without legal justification. The Defendant Officers engaged in

   this conduct against Plaintiff in retaliation for Plaintiff exercising her First Amendment

   rights.

21. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


COUNT 2: 42 U.S.C. § 1983 – FOURTH AMENDMENT UNREASONABLE SEIZURE AND EXCESSIVE
                      FORCE AGAINST ALL INDIVIDUAL DEFENDANTS

22. Paragraphs 1 through 18 are incorporated herein by reference as though fully set forth.

23. Based on the above factual allegations, the Defendant Officers, through their actions, acting

   under the color of state law, violated Plaintiff’s constitutional right to remain free from

   unreasonable seizures and use of excessive force under the Fourth Amendment to the United

   States Constitution when they tackled Plaintiff and forcefully pinned him to the ground, all

   without justification and while using excessive and unnecessary force.

24. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


  COUNT 3: 42 U.S.C. § 1983 – FOURTH AMENDMENT UNREASONABLE SEIZURE AND FALSE
                     ARREST AGAINST ALL INDIVIDUAL DEFENDANTS
25. Paragraphs 1 through 18 are incorporated herein by reference as though fully set forth.

26. Based on the above factual allegations, the Defendant Officers, through their actions, acting

   under the color of state law, violated Plaintiff’s constitutional right to remain free from

   unreasonable seizures under the Fourth Amendment to the United States Constitution when

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   the Defendant Officers arrested Plaintiff, took him into custody, and booked him into the

   Hennepin County Jail, all without a warrant and without probable cause to believe that

   Plaintiff had committed a crime.

27. As a result of these constitutional violations, Plaintiff suffered damages as aforesaid.


       COUNT 4: BATTERY AGAINST ALL DEFENDANTS UNDER MINNESOTA STATE LAW

28. Paragraphs 1 through 18 are incorporated herein by reference as though fully set forth.

29. Based on the above factual allegations, the Defendant Officers battered Plaintiff.

   Specifically, the Defendant Officers engaged in intentional, offensive, and unpermitted

   contact with Plaintiff when they tackled, pinned down, and handcuffed Plaintiff, all without

   justification.

30. As a direct and proximate result of this battery, Plaintiff suffered damages as aforesaid.




                                     RELIEF REQUESTED

WHEREFORE, Plaintiff requests that this Court grant the following relief:

a. Issue an order granting Plaintiff judgment against Defendants, finding that the Defendants

   violated Plaintiff’s constitutional rights under the First and Fourth Amendments to the United

   States Constitution and that Defendants are liable to Plaintiff for all damages resulting from

   these violations;

b. Issue an order granting Plaintiff judgment against Defendants, finding that Defendants

   battered Plaintiff under Minnesota state law and that Defendants are liable to Plaintiff for all

   damages resulting from this violation;

c. Award of compensatory damages to Plaintiff against all Defendants, jointly and severally;

d. Award of punitive damages to Plaintiff against all Defendants, jointly and severally;

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e. Award of reasonable attorney’s fees and costs to Plaintiff pursuant to 42 U.S.C. § 1988;

f. Award of such other and further relief as this Court may deem appropriate.

                      THE PLAINTIFF HEREBY DEMANDS A JURY TRIAL.



                                   THE LAW OFFICE OF ZORISLAV R. LEYDERMAN


Dated: November 16, 2015                     By: s/ Zorislav R. Leyderman
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